                                UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF KANSAS AT KANSAS CITY

    In re:                                                   )
                                                             )
    Pinnacle Regional Hospital, Inc., et al.,1               )     Case No. 20-20219
                                                             )
              Debtors.                                       )     Chapter 7
                                                             )
                                                             )     (Jointly Administered)


              MOTION TO SHORTEN OBJECTION DEADLINE AND FOR
       EXPEDITED HEARING ON TRUSTEE’S MOTION (No. 14) TO APPROVE (A)
             SALE OF CERTAIN REAL PROPERTY FREE AND CLEAR OF
           ALL LIENS, INTERESTS, CLAIMS AND ENCUMBRANCES, AND
          (B) RELATED RELIEF PURSUANT TO 11 U.S.C. §§102, 105 AND 363

             COMES NOW James A. Overcash, not individually, but solely in his capacity as the

Chapter 7 trustee in the above-captioned bankruptcy cases (the “Trustee”), and moves this Court

for an Order shortening the objection deadline and setting an expedited hearing on the Motion

(No. 14) to Approve (A) sale of Certain Real Property Free and Clear of all Liens, Interests,

Claims and Encumbrances, and (B) Related Relief Pursuant to 11 U.S.C. §§ 102, 105, and 363

(the “Sale Motion”). In support of this Motion, the Trustee states as follows:

             1.     On August 18, 2020, the Trustee filed his Motion (No.5) to Approve (A) sale of

Certain Real Property Free and Clear of all Liens, Interests, Claims and Encumbrances, and (B)

Related Relief Pursuant to 11 U.S.C. §§ 102, 105, and 363 (the “Boedeker Sale Motion”), seeking

to sell certain real property located in Bates County, MO (the “Real Estate”), as more particularly

described therein, to MC Boedeker Agriculture Limited Partnership, LTD (ECF No. 447).




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 The Debtors in this case are: Pinnacle Regional Hospital, Inc., Case No. 20-20219; Blue Valley Surgical Associates,
LLC, Case No. 20-20222; Rojana Realty Investments, Inc., Case No. 20-20225; and Joy’s Majestic Paradise, Inc.,
Case No. 20-20227.


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          2.      On September 11, 2020, the Court entered an Order granting the Boedeker Sale

Motion (the “Boedeker Sale Order) (ECF No. 478).

          3.      Despite the Boedeker Sale Order, the sale of the Real Estate never closed.

          4.      Now, through the Sale Motion, the Trustee has identified a new buyer of the Real

Estate.

          5.      The sale contemplated in the Sale Motion is scheduled to close on or before July 8,

2020.

          6.      The Trustee requests that the objection deadline of the Sale Motion be shortened to

June 30, 2022 and that the Court set the matter on its nonevidentiary docket on July 14, 2022 at

1:45 p.m., if necessary.

          7.      A shortened objection deadline and consideration of the Sale Motion as soon as

possible is necessary to allow the sale to close next week. Moreover, a shortened objection deadline

is appropriate given that no party previously objected to a sale of the Real Estate, as set forth in

the Boedker Sale Motion, and the Court previously entered the Boedeker Sale Order approving a

sale of the same Real Estate.

          WHEREFORE, the Trustee requests that the Court grant this Motion, setting consideration

of the Sale Motion for hearing on July 14, 2022 at 1:45 p.m. and shortening the objection deadline

to July 7, 2022 and that the Court enter such other and further relief as is deemed just and

appropriate.

                                                Respectfully submitted,


                                                STINSON LLP

                                                By: /s/ Nicholas J. Zluticky
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                                          JAMES A. OVERCASH




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                                CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on July 1, 2022, a true and correct copy of the

foregoing document was electronically filed with the court using the CM/ECF system, which sent

notification to all parties of interest participating in the CM/ECF System. Further, I certify that

copies of the foregoing document were forwarded via U.S. Mail, first class, postage prepaid and

properly addressed to the following:

         Centinel Spine, LLC
         c/o Moritt Hock & Hamroff LLP
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                                             __/s/ Nicholas J. Zluticky_________________
                                             Counsel for the Chapter 7 Trustee




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